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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA

    ANTHONY LENNEN and BETH LENNEN,
    Individually and on behalf of all others
    similarly situated,

                       Plaintiffs,

          v.

    MARRIOTT OWNERSHIP RESORTS, INC.,
    MARRIOTT VACATIONS WORLDWIDE
    CORPORATION, d/b/a MARRIOTT                Case No. 6:16-cv-0855
    VACATION CLUB, MARRIOTT RESORTS
    TRAVEL COMPANY, INC., d/b/a MVC            Hon. Judge Carlos E. Mendoza
    EXCHANGE COMPANY, MARRIOTT
    TITLE INSURANCE, MVC TRUST
    OWNERS ASSOCIATION, FIRST
    AMERICAN FINANCIAL, FIRST
    AMERICAN TRUST, FSB, FIRST
    AMERICAN TITLE COMPANY, ORANGE
    COUNTY FLORIDA, ORANGE COUNTY
    COMPTROLLER, MARTHA O. HAYNIE
    and MARRIOTT INTERNATIONAL, INC.

                       Defendants.

    FIRST AMERICAN DEFENDANTS’ MOTION TO DISMISS COUNTS II, III, IV, X,
         XI AND RICO COUNTS I, II AND III OF PLAINTIFFS’ COMPLAINT
                    PURSUANT TO RULES 8, 10 AND 12(b)(6)
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    I.       Introduction

             Under Marriott’s traditional timeshare program, “timeshare owners . . . buy weeks

    during a specific period at a specific resort” at a specific property. See Flynn v. Marriott

    Ownership Resorts, Inc., 2016 WL 843251, at *1 (D. Haw. Feb. 29, 2016). As discussed

    below, in 2010, Marriott introduced the MVC Program, a points-based timeshare program

    which offers participants more variety and flexibility in choosing a vacation destination. To

    participate in the MVC Program, individuals purchase a desired amount of points, which

    gives participants the ability to reserve time at their choice of one of the many properties held

    in the MVC Trust—rather than providing only the right to use a specific unit like a traditional

    timeshare program. See Exh. 1. First American Financial, First American Trust, FSB and

    First American Title Co. (collectively “First American”) performed three discrete activities in

    connection with the MVC Program: providing title insurance, managing escrow, and acting

    as a trustee for the Florida Land Trust created by the MVC Program.

             In their Complaint, Plaintiffs assert claims against First American on the grounds that

    the MVC Program does not comply with Florida law because it does not convey a timeshare

    estate or a beneficiary interest in a Florida land trust. Compl. ¶¶ 6-19. Plaintiffs’ claims

    against First American fail as a matter of law because they are premised on a misreading of

    Florida statutes, as well as allegations centered on incomplete and inaccurate excerpts from

    the core documents—including the deed and title policy—on which the claims are based.1




    1
         For the sake of brevity, First American hereby adopts certain arguments by Marriott in its Motion to
         Dismiss including Sections I, II.A.-II.E., and II.I. The First American Defendants also refer the Court to the
         description of the MVC Program contained in Marriott’s Motion, at 3-10.




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           Specifically, Plaintiffs selectively quote from the deed conveying their property.

    When read in full and considered in the context of a timeshare plan where a participant has

    certain rights to use multiple properties, the deed clearly provides a sufficient description of

    the property being conveyed. Plaintiffs also make claims under their title insurance policy

    that are expressly excluded from coverage. Plaintiffs further misread Florida’s escrow

    statute, omitting that it provides First American with alternative mechanisms for compliance

    not addressed by Plaintiffs’ allegations. Finally, Plaintiffs ignore the governing statute and

    controlling trust documents that define First American’s limited role as Trustee. In light of

    these deficiencies, Plaintiffs’ RICO claims also fail because they do not allege that First

    American engaged in any underlying illegal conduct.

    II.    Background

           A.      First American’s Services to The MVC Program

           First American sold title insurance products to individual purchasers of timeshares

    from the MVC Program, including at Plaintiffs’ election, the title insurance sold to the

    Lennens when they purchased both of their timeshare properties from Marriott. Compl.

    ¶ 51(b). First American also provided escrow account services for Marriott’s property sales.

    Id. Its obligations as escrow agent are described in Florida statutes including section 721.08,

    and the governing escrow agreement (“Escrow Agreement”). See Exh. 2.

           First American Trust is a federal savings bank which provides trustee services,

    including recordkeeping, tax preparation and accounting, for the MVC Trust (“Trust”).

    Compl. ¶ 51(a). Its obligations are described in the operative trust agreement (“Trust

    Agreement”) and applicable statutes. See Exh. 3. First American Financial is a publicly




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    traded parent company which had no role in connection with the MVC Program.

            B.       The MVC Program

            The MVC Program sold “Florida timeshare estate[s] in real property, coupled with a

    beneficiary interest in a Florida land trust.” Compl. ¶ 3. Unlike under a traditional

    timeshare, where a purchaser receives a right to reserve a specific unit for a specific period of

    time, under the Program, “MVC Owners are allotted increments of points that can be used to

    book days at units at various Legacy Timeshare Condominiums that are contained in the land

    trust forming the basis for the MVC Product.” Id. ¶ 4. The Trust provides participants with

    access to multiple properties located at 44 different condominiums in 11 different states. Id.

    ¶ 81. Under Florida law, Marriott was required to, and did, receive regulatory approval to

    operate the MVC Program. See Exh. 4, 1/6/10 Florida Dep’t of Business & Professional

    Regulation letter.

            After regulatory approval, in March 2010, Marriott recorded documents in Orange

    County, Florida describing the MVC Program and Trust, including a Memorandum of Trust

    (“MOT”). Compl. ¶ 564. The MOT summarizes the Trust Agreement (which is not

    recorded).2 See Exh. 5, MOT at A. The MOT expressly states that it is “a land trust [] in

    accordance with Section 689.071, Florida Statutes” and that each interest created in the trust

    “constitutes a Florida timeshare estate under Chapter 721, Florida Statutes, and thereby is

    considered a Florida real property interest.” Exh. 5, MOT at A-B. The MOT specifically

    describes how to identify Trust properties: pursuant to the terms of the Trust Agreement,

    2
        W. Suburban Bank of Darien v. Badger Mut. Ins. Co., 141 F.3d 720, 725-26 (7th Cir. 1998) (“Illinois land
        trusts [on which Florida Land Trusts are based] allow for greater secrecy in real estate ownership because
        the identities of beneficiaries in this type of trust need not be…a matter of public record.”).




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    Marriott “submit[s] certain real property into such Trust from time to time…each submission

    of which shall be evidenced by the recordation of a Notice of Addition of Property to the

    MVC Trust in the Public Records of Orange County, Florida.” See Exh. 5, MOT at A.

    Notices of Additions (“NOA”) include detailed descriptions of each parcel conveyed to the

    Trust and also state that the Trust is “established…pursuant to section 689.071, Florida

    Statutes.” See Exh. 6, NOA at A. Each NOA summarizes its impact on the Trust, noting the

    number of “additional points for sale upon conveyance of Real Property to Trustee” and the

    number of “additional Interests resulting from the addition of Real Property.” Exh. 6, NOA

    at E. New property added to the Trust through NOA is considered a “Restricted Use

    Property” under the Trust Agreement. Compl. ¶ 149. The Trust Agreement provided notice

    to purchasers, including the Lennens, that Restricted Use Property is not available for

    reservation by MVC Owners until Marriott issues a Notice of Use for that particular

    property. Id. ¶¶ 28, 150; Exh. 3, Trust Agreement § 2.42.

           C.      Plaintiffs’ Purchases of Marriott Timeshare Properties

           On January 24, 2008, prior to the creation of the MVC Program about which they

    complain, Plaintiffs purchased a traditional timeshare property in the Crystal Shores

    Condominium, located in Marco Island, Florida. Compl. ¶ 11. This purchase entitled the

    Plaintiffs to use “Unit 503/Week 34 and Unit 507/Week 2” at the Crystal Shores

    Condominium. Id. ¶ 11. Based on this original purchase, Plaintiffs claim to be “Legacy

    Owners” as defined in the Complaint.

           In December 2014, six years after becoming Legacy Owners, the Lennens elected to

    purchase a separate interest in the MVC Program. Id. ¶ 98. The Lennens’ deed for their




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    MVC Program property was described as “[a] timeshare estate as defined by section 721.05,

    Florida Statutes more fully described as 4 interests (numbered for administrative purposes:

    H04815 & H04816 & H04817 & H04818) in the MVC Trust [ ] evidenced for

    administrative, assessment and ownership purposes by 1,000 Points (250 Points for each

    Interest).” See Exh. 7 (emphasis added). As a result, the Lennens received 4 Beneficial

    Interest (“BI”) in the Trust and were assigned 250 points per BI, giving them 1000 total

    points with which to reserve one or more of the multiple properties contained in the Trust.

    See Exh. 7. The Lennens’ deed is recorded in Orange County, Florida (the “MVC Deed”).

    Compl. ¶ 17.

            In connection with the purchase of a timeshare in the MVC Program, the Lennens had

    the option to and elected to purchase title insurance from First American (the “Title Policy”).

    Id. ¶ 51(b). The Title Policy insures ten “[c]overed [r]isks” including “[t]itle being vested

    other than as stated in Schedule A.” Id. ¶ 144. Schedule A describes the title as “vested in:

    Anthony B. Lennen and Beth A. Lennen as tenants by the entirety and the Trustee of the

    MVC Trust Agreement, as each of their interests are created therein.” Exh. 8, Title Policy at

    7. The Title Policy uses the full legal property description from the MVC Deed,3 and further

    explains that it insures “an occupancy right, pursuant to that certain Trust Agreement dated

    March 11, 2010, in a multisite timeshare project with Component sites specifically described

    in the Notice of Addition [ ] of Property to the Trust recorded at Official Records Book

    10042, Page 3996, Public Records of Orange County, Florida, and any all subsequent

    3
        Plaintiffs’ allegations fail to reference the deed’s express references to the Trust and the MOT which is
        publicly available in the Orange County public records, and which points a title searcher to the specific
        parcels of property held in the Trust. Compare Compl. ¶ 100 and Exh. 7, Deed.




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    Notices of Addition that have been recorded in the Public Records of Orange County

    Florida.” Compl. ¶ 145; Exh. 8, Title Policy at 7. Over time, to enhance the MVC Program

    offerings, Marriott added properties to the Trust using NOAs (which describe the parcels of

    property added to the Trust). See Exh. 6, NOA ¶ E.

            The First American Title Policy for the Lennens contains “Exceptions from

    Coverage” that include certain express “exceptions” applicable to the properties added

    through NOAs (referred to as “Components”):

            (3) Terms, provisions and restrictions as contained in the Trust Agreement,
            the Articles of Incorporation of MVC Trust Owners Association, Inc., a
            Florida corporation not-for-profit (the “Association”), the Bylaws of the
            Association, the Reservation Procedures, and the Rules and Regulations, as
            such terms are defined in the Trust Agreement.
            …
            (5) All covenants, conditions, restrictions, easements, assessments, liens,
            charges, terms and provisions contained in those certain condominium
            declarations, community governing instruments, declaration of covenants, or
            such other documents which might now or in the future encumber and govern
            any portion of a Component….

    See Exh. 8, Title Policy at 9-10.

            Before completing the purchase, Marriott provided the Lennens documents

    explaining every aspect of the MVC program and describing the nature of the timeshare

    interest they were purchasing (the “Disclosure Documents”). See Exh. 9.4 For example, the

    Disclosure Documents described in detail the rules applicable to Restricted Use Property,

    explaining that “[u]ntil a Notice of Use Rights is delivered by [Marriott] with respect to a

    4
        The Receipt of Documents that purchasers received includes: Public Offering Statement Text, Trust
        Agreement, Trust Association Articles of Incorporation, Trust Association Bylaws, Memo. of Trust
        Agreement, Reservation Procedures for Trust, Estimated Operating Budget, Copy of Executed Purchase
        Contract, Description of Exhibits not delivered, Rules and Regulations for Trust, Trust Component Site
        Information, MVC Exchange Company Exchange Disclosure. See Exh. 9.




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    particular Trust Property, such Trust Property will be considered Restricted Use Property.”

    Exh. 1, POS at 23. “Restricted Use Property” is defined to mean “Trust Property that has not

    been made available for use and occupancy by Beneficiaries other than Developer.” Id. at 6.

    The Disclosure Documents also expressly explained certain limitations of the purchase

    including that there is no guarantee that purchasers could reserve a specific unit in the Trust

    at a particular time, id. at 10,5 and that additional people buying timeshares would affect

    purchasers’ ability to make reservations for specific units.6 Id. at 23.

    III.       Argument

               “On a motion to dismiss, this Court accepts as true all allegations in the complaint

    and construes them in the light most favorable to the plaintiff.” Boyd v. Std. Fire Ins. Co.,

    2014 WL 6607009, at * 1 (M.D. Fla. Nov. 19, 2014) citing Jackson v. BellSouth Telecomms.,

    372 F.3d 1250, 1262 (11th Cir. 2004). However, “a plaintiff’s obligation to provide the

    grounds of his entitlement to relief requires more than labels and conclusions, and a

    formulaic recitation of the elements of a cause of action will not do.” Warner v. Schmidt,

    2011 WL 2784492, at *1 (M.D. Fla. July 15, 2011) citing Bell Atl. Corp. v. Twombly, 550

    U.S. 544, 555 (2007). “[C]onclusory allegations, unwarranted deductions of facts or legal

    conclusions masquerading as facts will not prevent dismissal.” Waterford Twp. Gen. Emps.

    Ret. Sys. v. BankUnited Fin. Corp., 2010 WL 1332574, at * 6 (S.D. Fla. Mar. 30, 2010).


    5
           It stated: “The ability of a Beneficiary to reserve a Use Period at a particular Component may be severely
           limited due to the limited number of Accommodations that may be committed to the Trust Plan at that
           Component. Please refer to the Point Schedule for more information regarding the number of
           Accommodations available at any particular Component.”
    6
           It stated: “In the event that additional Submission Property is committed to the Trust Plan…[A]
           Beneficiary should not expect to be able to reserve the use of an Accommodation at any particular time.”




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           When evaluating a plaintiff’s claims on a motion to dismiss, federal courts must:

    “1) eliminate any allegations in the complaint that are merely legal conclusions; and 2) where

    there are well-pleaded factual allegations, ‘assume their veracity and then determine whether

    they plausibly give rise to an entitlement to relief.’” Warner, 2011 WL 2784492, at *1,

    citing Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). Here, the Court should dismiss Plaintiffs’

    Complaint in its entirety because it is premised on faulty legal conclusions and factual

    allegations that are inconsistent with the documents quoted in the Complaint. Because there

    is no set of facts under which Plaintiffs could revise their Complaint to cure these fatal

    defects, the Court should dismiss the Complaint with prejudice. Fla. Power & Light Co. v.

    Allis Chalmers Corp., 85 F.3d 1514, 1520-21 (11th Cir. 1996) (denying motion to amend

    where futile).

    IV.    Plaintiffs Fail to State a Claim Arising Under the Title Policy

           Plaintiffs allege that First American issued a non-compliant Title Policy because it

    failed to disclose a deed defect and encumbrances in Plaintiffs’ MVC Deed. Compl. ¶¶ 251-

    77 (Counts II, III, IV). Plaintiffs can only make this claim by misreading the Title Policy.

    See Village Carver Phase 1 LLC v. Fidelity Nat’l Title Ins. Co., 128 So. 3d 107, 111 (Fla. Ct.

    App. 2013) (“Title insurance policies are indemnity contracts against actual monetary loss

    resulting from specified causes.”).

           Here, the Title Policy transparently excluded from coverage in plain terms those

    items which Plaintiffs now claim were undisclosed encumbrances. Because the exclusions

    from coverage were clear and unambiguous, under Florida law, there are no defects with

    Lennens’ deed and the Court cannot invalidate the MVC Program transactions. Because




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    Plaintiffs cannot plausibly allege a defect with the MVC Deed, these fundamental

    deficiencies in Plaintiffs’ allegations require dismissal of Counts III and IV with prejudice as

    cure is not possible.

            A.       Count II: Plaintiffs Fail to State a Claim That First American Failed to
                     Disclose a Defect in the Title Policy

            Plaintiffs allege that the MVC Deed’s description of property (also used in the Title

    Policy) was insufficient, and claim that First American “insured the vesting of title as

    evidenced in [Plaintiffs’] MVC Consumer Deed which purports to transfer legal title to a

    Florida timeshare estate, legally described as H04815, H04816, H04817 and H04818.”

    Compl. ¶ 254. Plaintiffs assert that the MVC Deed only uses Marriott’s administrative codes

    to describe the property, id. ¶ 100, and that this property description is “void for lack of [a]

    legal description.” Id. ¶ 257 (emphasis added). These factual allegations are and can only be

    made based on an incomplete quotation of the MVC Deed. On a motion to dismiss, the

    Court should consider the fulsome description provided in the MVC Deed and should

    disregard the selective description referenced by Plaintiffs. Day v. Taylor, 400 F.3d 1272,

    1275-76 (11th Cir. 2005).7

            The actual language in the Lennens’ MVC Deed fully describes the property

    consistent with Florida law:

            “A timeshare estate as defined by section 721.05, Florida Statutes more fully
            described as 4 interests (numbered for administrative purposes: H04815 &
            H04816 & H04817 & H04818) in the MVC Trust (“Trust”) evidenced for

    7
        In determining whether documents are “central” to Plaintiff’s claim, the Eleventh Circuit considers such
        factors as: (1) whether the claims depend on the documents; (2) whether contents of the documents are
        alleged in the complaint; and (3) whether the documents form a “necessary part of [plaintiff’s] effort to
        make out [his] claim.” Day, 400 F.3d at 1276; Horsley v. Feldt, 304 F.3d 1125, 1134-35 (11th Cir. 2002).
        All three of those factors are easily satisfied here.




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           administrative, assessment and ownership purposes by 1,000 Points (250
           Points for each Interest), which Trust was created pursuant to and further
           described in that certain MVC Trust Agreement dated March 11, 2010,
           executed by and among First American Trust, FSB, a federal savings bank,
           solely as trustee of Land Trust No. 1082-0300-00 (a.k.a. MVC Trust),
           Marriott Ownership Resorts, Inc., a Delaware corporation, and MVC Trust
           Owners Association, Inc., a Florida corporation not-for-profit, as such
           agreement may be amended and supplemented from time to time (“Trust
           Agreement”), a memorandum of which is recorded in Official Records Book
           10015, Page 4176, Public Records of Orange County, Florida (“Trust
           Memorandum”). The Interests shall have a Use Year Commencement date of
           January 01, 2016 (subject to Section 3.5 of the Trust Agreement).

    See Exh. 7 (emphasis added).

           Plaintiffs make several arguments about the MVC Deed’s property description, each

    of which fails to state a claim. First, Plaintiffs allege that the description could never be

    adequate because “the codes H04815, H04816, H04817, and H04818 do not correspond to

    any specific and identifiable parcel of real property that could be located by an interested

    party, surveyor, or title company.” Compl. ¶ 248. This assertion is contrary to black letter

    Florida timeshare law, which provides that timeshare properties need not be tied to specific

    parcels. See Fla. Stat. § 721.52(4) (“‘multisite timeshare plan’ means any method,

    arrangement, or procedure with respect to which a purchaser obtains, by any means, a

    recurring right to use and occupy accommodations or facilities of more than one component

    site, only through use of a reservation system … Timeshare estates may only be offered in a

    multisite timeshare plan pursuant to s. 721.57.”); see also Fla. Stat. § 721.52(5) (“nonspecific

    multisite timeshare plan” means a “plan with respect to which a purchaser receives a right to

    use all of the accommodations and facilities, if any, of the multisite timeshare plan through

    the reservation system, but no specific right to use any particular accommodations and

    facilities for the remaining term of the multisite timeshare plan in the event that the



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    reservation system is terminated for any reason prior to the expiration of the term of the

    multisite timeshare plan.”) As fully disclosed, the MVC Program was offered, sold, and

    conveyed as a multisite timeshare plan. See Exh. 1, POS (titled “Multisite Public Offering

    Statement”). Consequently, the Lennens purchased a valid property interest recognized

    under Florida law.

           Plaintiffs, who had full access to the closing documents, now complain that even if

    they did purchase a valid property interest, it was insufficiently described in the MVC Deed.

    Compl. ¶ 257. Putting aside the questionable lack of damages, this assertion too contradicts

    established Florida law: “[A]lmost any description that could possibly be explained by parole

    evidence or research of historical records will suffice.” Hutchinson Island Realty, Inc. v.

    Babcock Ventures, Inc., 867 So. 2d 528, 532 (Fla. Ct. App. 2004). Further, “a property

    description may be aided by reference to the public records if the instrument contains

    information sufficient to identify the property through that line of inquiry.” Id. (citing

    Mendelson v. Great W. Bank F.S.B., 712 So. 2d 1194, 1197 (Fla. Ct. App. 1988)). When

    read in its entirety, the MVC Deed unambiguously references the MOT, recorded “in Official

    Records Book 10015, Page 4176” in Orange County, Florida. See Exh. 7, Deed. A title

    searcher can locate the MOT which refers the searcher to the NOAs recorded for each

    property parcel conveyed to the Trust. See Exh. 3. The title searcher then can search for any

    other NOAs for the MVC Program in the Orange County, Florida records, which together

    contain detailed descriptions of all underlying parcels of property in the Trust. See Exh. 6.

           As a result, Plaintiffs’ claim that “the codes H04815, H04816, H04817, and H04818

    do not correspond to any specific and identifiable parcel of real property that could be




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    located by an interested party, surveyor, or title company” is demonstrably false. Compl.

    ¶ 248. Under Florida law, the sufficiency of the property description in the Lennens’ deed is

    evaluated based on the deed and other materials in the Orange County public records

    referenced in the deed. Hutchinson Island Realty, 867 So. 2d at 532-33. Because the Chart

    of Component Sites provided to the Lennens and the recorded NOAs describe the specific

    parcels of property conveyed to the Trust and sold to the Lennens, this argument fails. See

    Exh. 10. Plaintiffs cannot legitimately challenge the MVC Deed’s complete property

    description read with the other documents incorporated by reference into the MVC Deed, so

    their claim that the Title Policy failed to disclose a defect arising from the property

    description also fails. Compl. ¶ 258.

            While not altogether clear, Plaintiffs further appear to base Count II on Fla. Stat.

    § 627.784. Compl. ¶¶ 252-53. This is improper, as there is no private right to enforce that

    provision. Regions Bank v. Commonwealth Land Title Ins. Co., 977 F. Supp. 2d 1237, 1270

    (S.D. Fla. 2013) (“even if a violation of the Insurance Code existed . . . Florida law does not

    permit [a party] to assert its own violation defensively because the statute and rule on which

    it relies do not create a private cause of action or defense.”). In any event, § 627.784 is

    inapposite, as it only prohibits insuring title without conducting any type of title search.

    Plaintiffs only allege that “First American failed to conduct a thorough title search,” an

    allegation which does not reach the statutory prohibition. See Compl. ¶ 275 (emphasis

    added).8



    8
        Plaintiffs fail to, and likely cannot, further allege any damage from the Title Policy. Bohr v. First Am. Title
        Ins. Co., 2008 WL 2977353, at *5 (M.D. Fla. July 30, 2008) (“insured has the burden of establishing the



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             In short, Plaintiffs can identify no defect or encumbrance under which Plaintiffs can

    recover under the Title Policy.9 Because Plaintiffs’ allegations are inconsistent with the plain

    language of documents on which their claims are based, they cannot improve their

    allegations, and this claim should be dismissed with prejudice. See Fenn v. Litton Loan Serv.

    LP, 2010 WL 8318866, at *3 (M.D. Fla. Dec. 10, 2010) (“There is no amendment that can

    cure the defects in Plaintiffs’ complaint; that is, with the facts presented, Plaintiffs will not be

    able to state a claim for relief that could be granted”).

             B.       Count III: Plaintiffs Fail to State a Claim that First American Failed to
                      Disclose “Restricted Use Property” as an Encumbrance

             Plaintiffs again ignore the operative documents in complaining about Restricted Used

    Properties. Plaintiffs allege that the concept of the addition of Restricted Use Properties, the

    process by which new properties are added to the MVC Program for the benefit of

    participants, is an encumbrance that First American failed to disclose in the Title Policy.

    Compl. ¶ 265. Reading the actual Title Policy reveals that Restricted Use Properties are

    excluded from coverage under the Title Policy.10

             “Insurance contracts are construed according to their plain meaning.” Great Am.

    Assurance Co. v. Elliott, 846 F. Supp. 2d 1258, 1261 (M.D. Fla. 2012). ”The applicability of



         amount of his loss up to the face amount of the policy, which is the upper limit to which the insurer is
         liable.”).
    9
         This type of individual claim is likely not capable of class relief, as it is elective. See Oginski v. Paragon
         Props. of Costa Rica, LLC, 282 F.R.D. 672, 678 (S.D. Fla. 2012) (no commonality where named plaintiffs
         entered into at least two variations of written agreement for deed, modifications of original agreements, and
         varying factual scenarios presented numerous discrete legal issues and affected types of damages available
         to individual plaintiffs).
    10
         Since the Title Policy is central to the Complaint, the Court should review it in full. Day, 400 F.3d at 1276.




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    [an] exclusion is a matter of law that can be properly resolved on the pleadings.”11 Maxum

    Indem. Co. v. Fla. Constr. Servs., Inc., 59 F. Supp. 3d 1382, 1385 (M.D. Fla. 2014) citing

    Scottsdale Ins. Co. v. Pursley, 487 F. App’x. 508, 511 (11th Cir. 2012); see also Allstate Ins.

    Co. v. Adrabi, 78 So. 3d 7, 10 (Fla. Ct. App. 2011) (“[c]overage determinations are legal

    questions decided by the court, not a jury”).

             The Lennens’ Title Policy unambiguously states that for certain listed “Exceptions

    from Coverage,” the “policy does not insure against loss or damage and the Company will

    not pay costs, attorneys’ fees, or expenses, that arise by reason of… [c]ertain Component

    Sites [which] have been conveyed to the trustee of the Trust Agreement…[and] are affected

    by certain exceptions…which exceptions may affect the Insured’s right to use one or more

    Component Sites.” Exh. 8, Title Policy at Sch. B. The Title Policy includes among these

    exceptions any “Terms, provisions and restrictions as contained in the Trust Agreement.” Id.

    The Trust Agreement describes Restricted Use Property in detail. Exh. 3, Trust Agreement at

    § 2.42. Thus, the plain language of the Title Policy does not cover any losses arising from

    “restrictions” provided in the Trust Agreement.

             Where, as here, exemptions to a title insurance policy are plain, Plaintiffs cannot

    recover for any alleged failure to disclose encumbrances stemming from an exemption. See

    Ernie Haire Ford, Inc. v. Ford Motor Co., 260 F.3d 1285, 1290-91 (11th Cir. 2001)

    (contracting parties are bound to clear contract terms and may not rewrite the contract to

    make it more advantageous or reasonable). The Title Policy’s reference to “Terms,

    11
         Under Florida law, “where the essential facts of the case are not in dispute, it is appropriate for the district
         court to interpret an insurance contract to determine whether any ambiguities exist as to coverage as a
         matter of law.” City of Delray Beach v. Ag. Ins. Co., 936 F. Supp. 931, 936 (S.D. Fla. 1994).




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    provisions and restrictions as contained in the Trust Agreement” unambiguously incorporates

    all restrictions which arise under the Trust Agreement, including “Restricted Use Property.”12

             What’s more, even if Restricted Use Properties constituted encumbrances, no liability

    arises because Plaintiffs had actual knowledge of them from the Disclosure Documents

    provided before sale. See, e.g., Lawyers Title Ins. Corp. v. D.S.C. of Newark Enters., Inc.,

    544 So. 2d 1070, 1073 (Fla. Ct. App. 1989) (courts are “loathe to impose liability on a title

    insurer for a condition of which the insured had actual, express knowledge,” even if such

    condition was “not excepted from coverage”). Because recovery for any restriction from

    “Restricted Use Property” is barred under the Title Policy’s plain terms, and was disclosed to

    Plaintiffs before their purchase, Count III should be dismissed with prejudice. Ship Constr.

    & Funding Servs., Inc. v. Star Cruises, 174 F. Supp. 2d 1320, 1326 (S.D. Fla. 2001); Fenn,

    2010 WL 8318866, at *3.

             C.       Count IV: Plaintiffs Fail to State a Claim that First American Failed to
                      Disclose Condo Declaration Restrictions as an Encumbrance

             Similar to the flawed allegations regarding Restricted Use Properties, Plaintiffs assert

    that the condominium properties included in the Trust have certain restrictions on their use

    that continue to apply after the properties are conveyed to the Trust. Compl. ¶¶ 81-82, 273.

    As with Count III, Plaintiffs cannot recover under Count IV because any restriction arising as

    a result of Condo Declarations are on their face excluded from Title Policy coverage:

             “This policy does not insure against loss or damage and the Company will not
             pay costs, attorneys' fees, or expenses that arise by reason of…(5) All
    12
         There is no ambiguity about which agreement is referenced. “Trust Agreement” is defined on the same
         page of the Title Policy’s list of exclusions to mean “that certain MVC Trust Agreement with an effective
         date as of the 11th day of March 2010 (as same may be amended and supplemented from time to time, the
         “Trust Agreement”).” See Exh. 8; Title Policy at Sch. B.




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           covenants, conditions, restrictions, easements, assessments, liens, charges,
           terms and provisions contained in those certain condominium declarations,
           community governing instruments, declaration of covenants, or such other
           documents which might now or in the future encumber and govern any
           portion of a Component….”

    Exh. 8, Title Policy at Sch. B (emphasis added).

           Thus, as a matter of law, Plaintiffs have no grounds for recovery for any restrictions

    arising from a Condo Declaration. See Kirkland v. Ocean Key Assocs., Ltd., 2007 WL

    3343083, at *4 (S.D. Fla. Nov. 8, 2007); Ship Constr., 174 F. Supp. 2d at 1326. And as

    Legacy Owners, the Lennens had actual knowledge of Condo Declarations, which also

    defeats their right to recovery. Lawyers Title, 544 So. 2d at 1073.

           Undeterred by this express exclusion, Plaintiffs further complain that because the

    Title Policy’s language provides only that “Legacy Timeshare Estates ‘may’ or may not be

    restricted by the respective Condo Declarations,” it cannot constitute an “express disclosure

    of [an] actual title defect.” Compl. ¶ 160. Plaintiffs misstate the law, which requires only

    that the Title Policy specifically reference the Condo Declarations, not that it must further

    describe or explain the language in those Declarations. In Florida, “where a writing

    expressly refers to and sufficiently describes another document, that other document, or so

    much of it as is referred to, is to be interpreted as part of the writing.” OBS Co. v. Pace

    Constr. Corp., 558 So. 2d 404, 406 (Fla. 1990); see also Kaye v. Macari Bldg. & Design,

    Inc., 967 So. 2d 1112, 1113 (Fla. Ct. App. 2007) (“The American Institute of Architects

    Documents No. A–201, April 1997 Edition,” adequately incorporated document by

    reference). The Title Policy both expressly refers to and sufficiently incorporates the Condo

    Declarations by reference so individual provisions need not be repeated in the Title Policy.




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    See Exh. 8, Title Policy at Sch. B. Put another way, there is no law that required First

    American to articulate the legal impact of such Condo Declarations.

    V.     Plaintiffs Fail to State a Claim Against First American as Trustee

           Plaintiffs allege that the Trustee, First American was not independent, as is required

    under Fla. Stat. § 721.03(7). Compl. ¶¶ 342-50. In support of this claim, Plaintiffs make

    only the conclusory allegation that First American has “mixed financial interests” with

    Marriott based on “shar[ing] the profit [from] title insurance” sold to MVC Owners and that

    First American “wears numerous hats in all MVC transactions.” Id. ¶¶ 31, 344. These

    claims again ignore Florida law.

           First American’s independence is not defeated merely because it sold title insurance,

    acted as trustee, and escrow agent for the MVC Program, as Plaintiffs essentially allege. The

    statute defining independence contemplates that one company may perform multiple services

    as part of a transaction. Though uncited by Plaintiffs, the governing Florida statute states

    that a “person shall not be disqualified to serve as…a trustee solely because . . . [the] trustee

    performs closings for the developer or seller or issues owner’s or lender’s title insurance

    commitments or policies in connection with such closings.” Fla. Stat. § 721.05(20)(d)(4).

    Thus, First American’s multiple roles are actually permitted by statute.

           More particularly, Plaintiffs’ allegations that Marriot and First American engaged in

    “profit sharing” again are defeated by statute. Plaintiffs do not take issue with First

    American’s fees for serving as a trustee (nor could they), but instead point to supposed

    “profit sharing” as evidence of lack of independence. See Fla. Stat. § 721.05(20)(b)

    (Independent “for purposes of determining eligibility of escrow agents and trustees” means




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    (in relevant part) having “no financial relationship, other than payment of fiduciary fees”

    between the trustee and the developer). The alleged “profit sharing” occurred “with regard to

    the sale of title insurance to the MVC Owners” because they “jointly sell and share in the

    profit of title insurance to the MVC Owners.” Compl. ¶¶ 207, 344. However, taking the

    Plaintiffs’ allegations that First American “jointly with Defendant Marriott Title, insured the

    title” as true at the pleading stage, Florida law requires the division of title insurance

    premiums between First American as title insurer and insurance agents. See FLA. ADMIN.

    CODE ANN. R. 4–186.003(11)(a)–(b) (1995); Butler v. State Dep’t of Ins., 680 So. 2d 1103,

    1104-05 (Fla. Ct. App. 1996) (“By statute, title insurers must retain no less than 30% of the

    premium for policies sold by agents. § 627.782(1), Fla. Stat. (1993)”). Plaintiffs

    acknowledge that Marriott and First American worked together with respect to the sale of

    title insurance, which was optional to the purchasers. See Compl. ¶¶ 43(d), 51(b). Therefore,

    such fee sharing was expressly authorized by statute. Because Plaintiffs’ allegations relate to

    First American’s alleged “mixed financial interests” with Marriott based on “shar[ing] the

    profit [from] title insurance,” and nothing more, this claim should be dismissed. See Morales

    v. Attorneys’ Title Ins. Fund, Inc., 983 F. Supp. 1418, 1424 (S.D. Fla. 1997) (granting

    dismissal where “plaintiffs are challenging…the defendants’ alleged practice of ‘always or

    nearly always’ adhering to a 70/30 split of title insurance premiums with their agents, even

    though such a percentage split is explicitly allowed by Florida law.”).

           Plaintiffs’ allegations related to any other supposed profit sharing are conclusory and

    unsupported. See Compl. ¶ 344 (“First American is not independent as Marriott and First

    American have mixed financial interests in virtually every aspect of every MVC Product




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    transaction”); id. ¶ 545; Villa v. Miami-Dade Cty., 65 F. Supp. 3d 1371, 1378 (S.D. Fla.

    2014) (“conclusory allegations ‘carry no weight’ in the Court’s analysis”). In addition,

    Plaintiffs’ claim that First American was not independent because it did not conduct audits of

    Marriott is not a requirement in the statute, and is of no import to this analysis.

    VI.    Plaintiffs Fail to State a Claim Against First American as Escrow Agent

           In their broad-brush allegations, Plaintiffs further charge that First American

    improperly released escrow funds to Marriott without complying with the statutory

    requirements of Section 721.08(2)(C)(2). Compl. ¶ 359. This claim should be dismissed

    because Plaintiffs ignore another section of the same statute, Fla. Stat. § 721.08(5)(a) that

    provides First American with alternative mechanisms to comply with escrow laws. To state

    a valid claim, Plaintiffs must allege that First American improperly released escrow funds.

    Fla. Stat. § 721.08(2)(C)(2). This, they cannot do. The escrow statute expressly provides

    alternative means, ignored by Plaintiffs, by which escrow can be released.

           Count XI’s central allegation is that First American failed to comply with Fla. Stat.

    § 721.08(2)(C)(2) because First American did not verify that each timeshare estate sold to

    MVC Owners was free and clear from competing interest holders or that each parcel owner

    had recorded a non-disturbance agreement. Compl. ¶ 366-77. Omitted from the Complaint,

    however, is any reference to § 721.08(5)(a), which expressly provides a separate and

    independent grounds to comply with escrow requirements: “[i]n lieu of any escrows required

    by this section, the director of the division shall have the discretion to accept other

    assurances, including, but not limited to, a surety bond issued by a company authorized and

    licensed to do business in this state as surety or an irrevocable letter of credit in an amount




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    equal to the escrow requirements of this section.”13 Plaintiffs do not acknowledge this

    provision in their 639-paragraph long Complaint. Without allegations that First American

    failed to comply with § 721.08(5)(a), in addition to § 721.08(2)(C)(2), Count XI fails as a

    matter of black letter law.14

             In addition, Count XI still does not state a claim because Plaintiffs have not

    demonstrated First American’s actual failure to comply with § 721.08(2)(C)(2). For

    example, Plaintiffs assert, “First American may not allow Marriott to withdraw the proceeds

    from the sale of MVC from escrow unless Marriott had submitted an affidavit that closing

    has been completed,” but that “Closing” could never occur because the deeds were allegedly

    defective because a sale of property in the MVC Program was “based on an invalid

    conveyance of title and on a recording that failed to comply with the recording laws.”

    Compl. ¶ 357-59. These arguments fail, because the MVC Deed was not defective, as is

    explained in Section IV.A. Plaintiffs’ other challenges under § 721.08(2)(C)(2) are also

    deficient because nondisturbance instruments are not required for properties transferred to a

    trust. See Fla. Stat. § 721.08(2)(C)(2)(c)(iii) and because the Legacy Owners do not fit the

    definition of “interest holders” since they do not participate in the MVC Program. See Fla.

    Stat. § 721.05(21); Compl. ¶ 63(b).



    13
         The Escrow Agreement between First American and Marriott specifically contemplates the use of alternate
         assurances in lieu of specific escrow. See Exh. 2, Escrow Agreement at ¶ 8.
    14
         Count XI also fails because Plaintiffs’ allegations merely state their view on legal requirements for escrow.
         See e.g. Compl. ¶¶ 189, 191. Because the claim does not allege any actual facts about First American’s
         conduct relating to its holding or release of escrow, this claim is fatally flawed. Twombly, 550 U.S. at 570
         (threadbare recitals of the elements of a cause of action, supported by mere conclusory statements, do not
         suffice); accord Harding v. NCL (Bahamas) Ltd., 90 F. Supp. 3d 1305, 1307 (S.D. Fla. 2015).




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             Besides, Plaintiffs have not and cannot allege damages relating to a release of escrow.

    Plaintiffs do not state any well-pled damages arising from a release from escrow in the

    Complaint. Compl. ¶ 229 (“First American’s failure as an escrow agent to independently

    verify that the subject accommodations and facilities of the MVC Timeshare Plan directly

    caused injuries to Legacy Owners”); id. ¶¶ 375-77. Plaintiffs paid for and received their

    bargained for interest in the MVC Trust. Absent a claim for damage arising from the release

    of escrow, this claim fails for this independent reason as well. See, e.g., IberiaBank v.

    Coconut 41, LLC, 984 F. Supp. 2d 1283, 1303 (M.D. Fla. 2013) (“It is axiomatic that a

    plaintiff must prove damages resulting from the defendant's wrongdoing to be entitled to

    recover.”) (citation omitted).

    VII.     Plaintiffs Fail to State A Claim for Conspiracy to Violate Fla. Stat. § 721.08

             Plaintiffs allege that Marriott and First American conspired to violate Florida

    timeshare laws, allegedly committing third degree felonies. In RICO Count I, Plaintiffs

    allege that First American released escrow funds for sales of MVC Program properties even

    though the affidavits it received from Marriott confirming closing of the sale were

    “fraudulent.”15 Id. ¶¶ 510, 518. In RICO Count II, Plaintiffs allege that “Marriott, with the

    knowledge and assistance of First American, opted to transfer each of the accommodations

    and facilities of the MVC Timeshare Plan to a trust” without meeting the requirements of

    § 721.08(2)(C)(4). Id. ¶ 534. Such claims are not actionable as a RICO claim, as Plaintiffs

    15
         RICO Count I also fails because Plaintiffs’ allegation that First American released escrow funds after
         receiving “fraudulent affidavits” implicates, but cannot satisfy Rule 9(b)’s heightened pleading standard.
         See Wilson v. EverBank, N.A., 77 F. Supp. 3d 1202, 1225 (S.D. Fla. 2015) (“Because Plaintiffs’ RICO
         claims are predicated on allegations of fraud, their allegations must satisfy the heightened pleading
         requirement of Fed. R. Civ. P. 9(b)”); Viridis Crop. v. TCA Glob. Credit Master Fund, L.P., 155 F. Supp.
         3d 1344, 1361 (S.D. Fla. 2015).




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    do not allege facts demonstrating that First American “intentionally failed to comply with the

    provisions of this section concerning the establishment of an escrow account” or to

    “intentionally fail[] to comply with the provisions of this section concerning …conveyances

    of property into the trust.” Fla. Stat. § 721.08(10)(a); § 721.08(10)(b). Indeed, Plaintiffs

    have failed to allege that First American improperly released escrow funds or improperly

    transferred property to a trust.

            Therefore, Plaintiffs cannot sufficiently allege a RICO claim because they have not

    (and cannot) validly allege any predicate crime. It is fundamental that “what is required to

    support a claim of RICO conspiracy is that plaintiffs allege an illegal agreement to violate a

    substantive provision of the RICO statute.” Jackson v. BellSouth Telecomms., 372 F.3d

    1250, 1269 (11th Cir. 2004); Fuller v. Home Depot Servs., LLC, 512 F. Supp. 2d 1289, 1295-

    96 (N.D. Ga. 2007) (dismissing conspiracy claim because the claim alleges conduct that is

    not illegal); Wallace v. Midwest Fin. & Mortg. Servs., Inc., 714 F.3d 414, 423 (6th Cir. 2013)

    (yield premiums that mortgagee paid broker for securing high long-term interest rate did not

    evidence agreement to commit unlawful act because premiums were not illegal per se under

    federal law); Cf. U.S. v. Vaghela, 169 F.3d 729, 733-34 (11th Cir. 1999) (cannot be guilty of

    conspiring to commit acts that are not themselves illegal).

            As discussed in Section V, Plaintiffs cannot establish that First American improperly

    released escrow funds because Plaintiffs ignore the alternative methods of compliance and

    thus fail to allege that First American did not comply with the escrow requirements of

    § 721.08(5)(a). Because Plaintiffs have not alleged First American’s complete failure to

    protect escrow as is permitted in Florida, First American could not have conspired to violate




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    § 721.08. Spain v. Brown & Williamson Tobacco Corp., 363 F.3d 1183, 1199 (11th Cir.

    2004) (“A conspiracy itself furnishes no cause of action. The gist of the action is not the

    conspiracy but the underlying wrong that was allegedly committed. If the underlying cause of

    action is not viable, the conspiracy claim must also fail.” (internal quotation marks and

    citation omitted)). Moreover, without improperly releasing escrow, First American cannot

    have “intentionally fail[ed] to comply with the provisions [ ] concerning the establishment of

    an escrow account,” as is required to commit the felony provision of section 721.08. Fla.

    Stat. § 721.08(10)(a); Jackson, 372 F.3d at 1269 (“parties cannot be found guilty of

    conspiring to commit an act that is not itself against the law”) (citation omitted); Spence-

    Jones v. Rundle, 991 F. Supp. 2d 1221, 1255 (S.D. Fla. 2013) (dismissing RICO claim where

    “complaint fails to allege a predicate act, fails to allege an illegal agreement to conduct acts

    of a sufficiently continuous nature to constitute a pattern of racketeering activity, and fails to

    allege facts sufficient to confer standing or damages.”).

           Similarly, Plaintiffs fail to assert a claim under RICO Count II because they have not

    stated any facts to show that First American improperly transferred property into a trust.

    RICO Count II contains only a recitation of the elements of a violation, but does not include

    allegations of any facts describing what was improper about the conveyance of property to

    the Trust. See e.g., Compl. ¶ 534 (“Marriott, with the knowledge and assistance of First

    American, opted to transfer each of the accommodations and facilities of the MVC

    Timeshare Plan to a trust…”). Allegations in the rest of the Complaint do not revive the

    claim, as Count XII (“Improper Transfer of Accommodations and Facilities to a Trust)” also

    includes only legal conclusions. See e.g., id ¶ 384 (“By failing to make valid transfer




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    pursuant to the trustee pursuant to Fla. Stat. § 721.08(2)(C)(4) (2010), Marriott unlawfully

    withdrew proceeds from sales…”). To the extent that Plaintiffs’ argument of an improper

    trust is based on their allegations that First American was not an independent trustee, these

    allegations fail for the reasons described above in Section V. Thus, because Plaintiffs have

    not adequately alleged any underlying violation, they cannot allege a conspiracy to violate a

    law, and RICO Count II fails. Jackson, 372 F.3d at 1269 (“parties cannot be found guilty of

    conspiring to commit an act that is not itself against the law”) (citation omitted); Spain, 363

    F.3d at 1199; Spence-Jones 991 F. Supp. 2d at 1255.

    VIII. Plaintiffs Fail to State a Claim under RICO Count III

           Plaintiffs cannot recover punitive damages based on Florida’s RICO statutes because

    the statutes expressly prohibit punitive damages for civil RICO violations. See Fla. Stat.

    § 772.104(3) (“In no event shall punitive damages be awarded under this section.”); Fla. Stat.

    § 895.05(6) (allowing only for injunctive relief for a private right of action).

           Even if Plaintiffs could collect punitive damages for RICO under § 768.72(2), which

    they cannot, they have not alleged the required level of intent. Section 768.72 permits a

    plaintiff to seek punitive damages only if it sufficiently alleges intentional conduct or gross

    negligence. Fla. Stat. § 768.72(2). Plaintiffs fail to allege that First American acted with

    “actual knowledge of the wrongfulness of the conduct and the high probability that injury or

    damage to the claimant would result,” required to show “intentional misconduct.” Fla. Stat.

    § 768.72(2)(a). On the contrary, Plaintiffs allege repeated compliant conduct. See Compl.

    ¶ 85 (“First American issued to the Lennens a title policy for two Legacy Timeshare

    Estates”); id. ¶ 203 (“First American signed the MVC Trust Agreement…”). Plaintiffs




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    likewise do not allege that First American acted with gross negligence because none of its

    allegations support conduct that was “reckless or wanting in care that it constituted a

    conscious disregard or indifference to the life, safety, or rights of persons exposed to such

    conduct.” Fla. Stat. § 768.72(2)(b). There is simply no well-pled fact that First American

    intended to violate the law.

             Accordingly, Plaintiffs’ claim for punitive damages fails. See, e.g., Coronado Condo.

    Ass’n, Inc. v. La Corte, 103 So. 3d 239, 241 (Fla. Ct. App. 2012) (plaintiff did not show that

    condo association ratified the conduct of others to establish punitive damages claim); Tiller v.

    Ford Motor Co., 2006 WL 166530 at *3 (M.D. Fla. Jan. 21, 2006) (insufficient evidence to

    establish punitive damages because evidence showed that [defendant] complied with

    government standards when it design the roof of the car).16

                                                  CONCLUSION

             For all of the reasons stated, Count II, III, IV, X, XI, and RICO Counts, I, II and III

    should be dismissed with prejudice.




    16
         Plaintiffs’ requested relief that the Court “temporarily suspend” Marriott and First American’s licenses
         until “review by an appropriate licensing agency” is improper and should be denied because Plaintiffs have
         not posted nor have offered to post the required surety bond. See Fla. Stat. § 895.05(6).




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    Dated: September 15, 2016               Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

           I, Douglas B. Brown , an attorney, certify that on this 15th day of September, 2016, I

    caused a copy the attached Answer of First American Financial, First American Trust, FSB,

    and First American Title Company to Class Action to be served via U.S. Mail, postage

    prepaid, on the following counsel:

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